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                        Expert Witness Report of Mark H. Zafrin, Esq

 1. Identity of Expert Witness: Mark H, Zafrin, Esq., 214 East Ninth Street, New York, New York
    10003; Phone: (212) 673-5505; Cell (917) 922-7120 -mail: mzafrin@me.com|

 2. Opinions and Reasons Therefore: Based on the information presented at the current time and
    for the reasons set forth below, it is my opinion that the foundational business documents of
    Nexray Medical Imaging, P.C. (Nexray) do not exhibit any of the indicia that could lead an
    insurance company under the dictates of State Farm Mutual Automobile Insurance Co. v.
    Mallela to withhold reimbursement for no-fault claims that were “provided by fraudulently
    incorporated enterprises to which patients have assigned their claims.” Specifically, the
    organizational documents, loan agreements, lease agreement, and UCC filings all suggest that
    Dr. Weiner owned and controlled his practice. The Financing Agreement between Nexray and
    Medical Reimbursement Consultants, Inc. (MRC), does not provide any mechanism that would
    have allowed MRC to assert control over Nexray or the practice of medicine.

    During my 35 years of practice, I have extensive experience with incorporating PCs and PLLCs.
    I am familiar with "doc-in-a-box" clinics (in which businessmen essentially pay for the use of
    physicians' licenses so that they can fraudulently incorporate as medical PCs, skirting State laws
    proscribing the corporate Practice of medicine). Nexray’s foundational documents are not in any
    way similar to those of a "doc-in-a-box" clinic; rather, they appear to be consistent with a
    legitimate PC controlled by a physician.

 3. Data Considered in Forming the Opinion: I relied upon the following documents in forming
    my opinion.

        a. Entity Information from the New York State Department of State indicating that Nexray
           Medical Imaging was formed on April 19th, 2011, by William A. Weiner, D.O., with an
           address at his home, 8 Leonard Drive, East Rockaway, New York, 11518

        b. Oxford Instruments Healthcare purchase agreement and Oxford Instruments Healthcare
           service agreement for an MRI Machine dated November 15th, 2015, between Oxford
           Healthcare and Nexray Medical Imaging.

        c. Sublease Agreement dated 2015 between Marvin Moy MD., P.C. and Nexray for a
           portion of premises 79-60 South Conduit Avenue, Howard Beach, New York, which JSB
           Realty No. 2, LLC owns the Automated City Register System.

        d. Six Hundred Fifty Thousand ($650,000.00) draw term loan from Valley National Bank
           dated February 2, 2016, with a personal loan guarantee by Dr. William Wiener, the
           proceeds designated explicitly for purchasing equipment and leasehold improvements.
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          e. Financing Agreement (the "Agreement") dated as of November 15, 2016, between
             Nexray and MRC.

          f. UCC Search on the New York State Department of States Website which revealed the
             following UCC filings:

                   i. Filing # 201602125175402 dated 02/12/2016 between Valley National Bank as
                      the lender and Nexray Medical Imaging, P.C, an all assets filing

                  ii. Filing # 201805175607269, dated 05/17/2018 between Philips Medical Capital,
                      LL and Nexray Medical Imaging, P.C, securing a purchase by Nexray of One (11
                      Philips Ingenuity TF 128 PET/CT System, Serial No. 2078, as fully described on
                      Philips Healthcare Quotation No. 1-1 RSRL2I and One (1) Siemens RS
                      Magnetom Skyra Eco MR System as fully described on Siemens Quote No. 1-1
                      MLRWN8, together with all components, additions, upgrades, attachments,
                      accessions, substitutions, replacements, and proceeds.

                 iii. Filing Number 20180928621231, dated 09/28/2018, benefiting TIAA
                      COMMERCIAL FINANCE, INC, securing the purchase of 1 EXA PACS
                      SOFTWARE, DELL RACK SERVER R730, 1 DUAL 3MP MONOCHROME
                      DIAGNOSTIC WORKSTATION and all accessions thereto, substitutions and
                      replacements therefor, and all proceeds of the preceding, including insurance
                      proceeds.

                 iv. Filing Number 201908236085136, dated August 23, 2018, benefiting SIEMENS
                     FINANCIAL SERVICES, INC. For the purchase of an MRI machine.

                                               OPINION

1) STANDARDS FOR PRACTICE. There is a standard practice followed by legal practitioners in the
   Healthcare Space that would be followed when forming a radiology practice to ensure that the
   Practice is compliant with all Anti-Kickback, Stark, and (when relevant) no-fault laws.

   a) Licensed medical professionals must own the PC or PLLC. The PC or PLLC is allowed for
      convenience's sake for the business activities of the Practice, but the Doctor is still personally
      responsible for all medical decisions.

   b) The Practice must have complete control over all of its assets and independent control over the
      management, policies, and disposition of assets. It must have the ability to incur debts, to enter
      into any agreements with third parties, and to hire and fire employees

   c) The Physician must make capital contributions and be the sole signatory on all loans and debts.

   d) The Physician must not share in the rewards of the Practice, and either seems to split medical
      fees or profits with a non-physician-physician.

2) STANDARD CONSTRUCTION RULES WHERE A NON- PHYSICIAN WANTS TO
   ENGAGE IN PRACTICE MANAGEMENT OF A RADIOLOGY CLINIC. Many times, I and
   other attorneys in this area have been approached by entrepreneurs who believe they can team up

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  with a radiologist and actively be involved in a radiology practice as a non-physician owner. The
  challenge that the attorney faces in advising the client is to encourage and guide the client into an
  arrangement with a physician that is a genuine management agreement without the appearance of or
  actual impropriety. However, the Practice is often still a "doc in a box". These arrangements are
  made through the mechanism of the non-physician-physician promoter doing the following:

  a) The non-physician promoter will form a Management Services Company and enter into a
     contract with the PC where the Doctor who owns the PC is effectively an employee of the non-
     physician's-physician's management company.

  b) The Management Services Company handles all of the financial aspects of the business

     i) The Management Services Company arranges for and sometimes guarantees bank loans and
        equipment leases.

     ii) The Management Services Company arranges equipment leases or purchase equipment in
         their name and re-lease them to the Practice at an inflated price over and above the actual
         cost.

     iii) The Management Services Company enters into leases for space in the name of the
          Management Company and then subleases the space to the Practice at an inflated rate while
          charging for incidentals on a cost-plus basis, such as cleaning, air conditioning, heat, etc.

     iv) The management agreement provides that all income from the Practice is deposited in an
         account totally under the control of the Management Services Company from which they
         make payments to all the employees, including mid-level medical and x-ray techs.

     v) The Management Services Company charges for billing and accounting services at an
        inflated rate.

  c) The above is an example of the facts and circumstances among others that existed in the Mallela
     case and United States v. Gabinskaya, 829 F.3d 127 (2d Cir. 2016). The Management Services
     Company structure is problematic because it creates numerous opportunities for the Management
     Company to exercise control over the assets of the PC.

3) NEXRAY FOLLOWED AN EXTREMELY DIFFERENT MODEL.

  a) Dr. Weiner incorporated Nexray on April 19th, 2011, five years before he entered into the
     Sublease with Marvin Moy M.D., P.C., and the Financing Agreement (the "Agreement") with
     MRC.

  b) Notably, there is no Management Services Agreement between Dr. Weiner and MRC. In the
     absence of such an Agreement, Dr. Weiner retained complete authority to control hiring, firing,
     borrowing, spending, and every other aspect of the Practice.
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  c) I am not aware of any evidence to suggest that Dr. Weiner was an absentee doctor, which, of
     course, is unlike to the fact patterns in Mallela and Gabinskaya.

  d) Dr. Weiner assumed the entire financial risk of the success or failure of the Practice as
     conclusively demonstrated by his formation of Nexray and the lending agreements with Valley
     National Bank and others for MRI Equipment, computers, and other assets. The UCCs filed by
     Valley National Bank and the sellers of the equipment, either on leases or financed purchases,
     demonstrate that the liens were for loans or equipment purchased solely by Nexray on Dr.
     Weiner's own credit. No one else was obligated to pay these debts.

  e) The cost of the fit-out and construction of the offices appear to have been financed by Nexray
     and Dr. Weiner personally, as demonstrated by the Six Hundred Fifty Thousand ($650,000.00)
     draw term loan from Valley National Bank, which Dr. Weiner personally guaranteed.

  f) The sublease for office space is between Nexray and Marvin Moy M.D., P.C. The only party
     responsible for payment is Dr. Weiner. The lease has specific and fixed provisions regarding the
     payment of rent, taxes, and electricity, and all payments were made to Marvin Moy M.D. PC.

     i) A check of the City of New York's electronic real estate filing system demonstrated that the
        owner of the building was in no way related to MRC, Bradley Pierre, or any of the other
        parties to this matter.

     ii) The use clause of the sublease restricted the use to a radiology practice and specifically
         excluded its use for physical medicine, rehabilitation, and other ancillary uses.

     iii) The work to fit out the space was either done by the Prime Landlord as part of the prime
          lease or by Nexray Medical Imaging at their sole cost and expense.

  g) In my opinion, Nexray’s foundational documents and business structure are neither consistent
     with nor suggestive of a possible Malella violation.

4) THE FINANCING AGREEMENT BETWEEN NEXRAY AND MRC IS USUAL AND
   CUSTOMARY

  a) Many medical practices use factoring or other forms of lending to accelerate collections.

  b) Healthcare providers widely use factoring or funding agreements. These types of agreements can
     often be the least expensive capital for such providers. In addition, factoring or funding
     agreements are often used by providers who are reliant on payment from insurance companies.
     Because insurance companies can and often do refuse to pay in a timely manner (if at all) or raise
     issues as to whether or not the procedure was medically necessary, many providers seek to
     mitigate their risks through funding arrangements.

  c) The Funding Agreement here provided that MRC would advance payment on accounts
     receivable. Per the Agreement, the accounts receivable served as collateral for the advances.
     Nexray was obligated to repay the amounts funded plus interest, but only to the extent that it
     actually collected the accounts receivable.



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   d) The Finance agreement did not grant MRC any form of legal control over Nexray.

5) CONCLUSION: It is my opinion based upon my expert knowledge in this area that:

   a) Nexray’s foundational business documents do not exhibit any of the indicia that could lead an
      insurance company under the dictates of State Farm Mutual Automobile Insurance Co. v.
      Mallela, to withhold reimbursement for no-fault claims that were “provided by fraudulently
      incorporated enterprises to which patients have assigned their claims.”

   b) Specifically, the organizational documents, loan agreements, lease agreement, and UCC filings
      all suggest that Dr. Weiner owned and controlled his practice. The Financing Agreement
      between Nexray and Medical Reimbursement Consultants, Inc. (MRC), does not provide any
      mechanism that would have allowed MRC to assert control over Nexray or the practice of
      medicine.

   c) Nexray’s foundational documents are not in any way similar to those of a "doc-in-a-box" clinic;
      rather, they appear to be consistent with a legitimate PC controlled by a physician.


                                                          Respectfully submitted.


                                                          Mark H. Zafrin, Esq.
